                                                Case 5:18-cv-02449-PSG-KK Document 83 Filed 11/06/20 Page 1 of 2 Page ID #:1857




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                                                         8                        UNITED STATES DISTRICT COURT
  LLP
                   300 SOUTH GRAND AVENUE, SUITE 1300




                                                         9                      CENTRAL DISTRICT OF CALIFORNIA
                      LOS ANGELES, CALIFORNIA 90071
HURRELL CANTRALL
                         TELEPHONE (213) 426-2000




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                                                        11 DANNY WAYNE EATHERTON,                       CASE NO. 5:18-CV-02449-PSG-KK
                                                                                                        Judge: Hon. Philip S. Gutierrez
                                                        12               Plaintiff,                     First Street Courthouse, Courtroom 6A
                                                        13         v.                                   [PROPOSED] ORDER
                                                                                                        REGARDING STIPULATION FOR
                                                        14 COUNTY OF RIVERSIDE, KAMAL                   VOLUNTARY DISMISSAL OF ALL
                                                           ABDUL KABBARA, JOLENE                        OF PLAINTIFF'S CLAIMS AND
                                                        15 ZAVORKA, JOSHUA CARRASCO,                    THE ENTIRE ACTION AGAINST
                                                                                                        DEFENDANTS COUNTY OF
                                                        16 and DOES 1 through 10, inclusive,            RIVERSIDE, KAMAL ABDUL
                                                                         Defendants.                    KABBARA, JOLENE ZAVORKA
                                                        17                                              AND JOSHUA CARRASCO, WITH
                                                                                                        PREJUDICE
                                                        18
                                                                                                        Trial Date: March 9, 2021
                                                        19
                                                        20                                        ORDER
                                                        21 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
                                                        22         After full consideration of the parties’ stipulation for voluntary dismissal of
                                                        23 the claims of Plaintiff DANNY WAYNE EATHERTON against Defendants
                                                        24 COUNTY OF RIVERSIDE, KAMAL ABDUL KABBARA, JOLENE ZAVORKA
                                                        25 AND JOSHUA CARRASCO, with prejudice, and finding good cause thereto, the
                                                        26 Court hereby makes the following Order pursuant to Federal Rules of Civil
                                                        27 Procedure, Rule 41(a)(1):
                                                        28 / / /
                                                Case 5:18-cv-02449-PSG-KK Document 83 Filed 11/06/20 Page 2 of 2 Page ID #:1858




                                                         1       IT IS HEREBY ORDERED:
                                                         2       1.      The above-captioned case, Eatherton v. County of Riverside, et al.,
                                                         3 Case No. 5:18-CV-02449-PSG-KK, brought by Plaintiff DANNY WAYNE
                                                         4 EATHERTON against Defendants COUNTY OF RIVERSIDE, KAMAL ABDUL
                                                         5 KABBARA, JOSHUA CARRASCO and JOLENE ZAVORKA, is dismissed, with
                                                         6 prejudice.
                                                         7       2.      Each party is to bear their own costs and attorneys' fees.
                                                         8       IT IS SO ORDERED.
  LLP




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                   300 SOUTH GRAND AVENUE, SUITE 1300




                                                                      11/06/2020
                      LOS ANGELES, CALIFORNIA 90071
HURRELL CANTRALL




                                                        10 Dated: ____________________
                         TELEPHONE (213) 426-2000




                                                                                                            HON. PHILIP S. GUTIERREZ
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